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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,

              Plaintiff,

v.                                       ORDER
                                         Cr. No. 97-276(02) (MJD)

Robert George Jefferson,

            Defendant.
______________________________________________________________________

      Jeffrey S. Paulsen, Assistant U.S. Attorney for and on behalf of the United States

of America.

      Defendant, pro se.

______________________________________________________________________

      This matter is before the Court on Defendant’s motion to receive scientific

testing under the Innocence Protection Act of 2004, 18 U.S.C. § 3600, and for the

appointment of counsel.

      Defendant seeks to obtain additional scientific testing in the field of fire

forensics in order to prove that the fire at 385 East Lawson, St. Paul, Minnesota, was

not caused by arson. The Innocence Protection Act, however, does not provide for such

testing. Rather, the Act provides for DNA testing under circumstances set forth therein.

18 U.S.C. § 3600 (a). Having provided no basis upon which to grant the requested

relief, Defendant’s motions must be denied.



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      IT IS HEREBY ORDERED that Defendant’s Motion for Scientific Testing under 18

U.S.C. § 3600 [Docket No. 1443] is DENIED. Defendant’s Motion for Appointment of

Counsel [Docket No. 1445] is DENIED.

Date: June 17, 2005

                                              s/ Michael J. Davis
                                              Michael J. Davis
                                              United States District Court




Crim. No. 97-276(02) (MJD)




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